
76 So.3d 1127 (2012)
Timothy Lee FOLSOM, Petitioner,
v.
Christina Leann FOLSOM, Respondent.
No. 1D11-6031.
District Court of Appeal of Florida, First District.
January 9, 2012.
Joseph L. Mannikko, and E. Barbara Baris of Mannikko &amp; Baris, Macclenny, for Petitioner.
Frank E. Maloney, Jr., Macclenny, and Phyllis M. Rosier, Eighth Judicial Circuit Court Judge, Starke, for Respondent.
*1128 PER CURIAM.
DENIED. See R.M.C. v. D.C., ___ So.3d ___, 2012 WL 29155 (Fla. 1st DCA 2012).
VAN NORTWICK, THOMAS, and RAY, JJ., concur.
